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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 Fort Lauderdale Division
In Re:

DANNY WILDER                                          Case No. 18-22356-BKC-SMG

      Debtor.                                                Chapter 7
___________________________________________/

RESPONSE TO ORDER SETTING DEADLINE FOR DETOR TO FILE ALL MISSING
               SCHEDULES AND DOCUMENTS (DE#88)

         COMES NOW, Kenneth A, Welt as the Chapter 7 Trustee in the case captioned above
and hereby files his response to the Court’s Order Setting Deadline for Debtor to File Missing
Schedules and Documents and states as follows:

1. In reviewing the case captioned above, I am certain that the Court will agree with the Trustee’s
   evaluation that the debtor is using the bankruptcy system to hinder and delay the secured
   creditors from exercising their rights against the real property of the debtor.


2. This practice, although not unique to this particular debtor, is contrary to the intentions of
   Congress in the drafting of the provisions of the United States Bankruptcy Code


3. In the event that the Debtor fails to comply with the Order, the Trustee respectfully
   recommends that the dismissal of this case be with a two (2) year prejudice period. Upon the
   Trustee's investigation, the Debtor has filed three prior bankruptcy cases (Case Nos. 09-26878,
   16-13872 and 18-23101) and failed to file any bankruptcy schedules in the latter two
   cases. The Trustee respectfully suggests that the Debtor's apparent abuse on the bankruptcy
   system warrants such an extended prejudice period.

Date:    November 8, 2019                             /s/ Kenneth A. Welt
                                                      Chapter 7 Trustee
                                                      8201 Peters Rd - #1000
                                                      Plantation, Fla. 33324
                                                      (954_ 368-6682
